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  1 INSTITUTE FOR FREE SPEECH
    Alan Gura, SBN 178221
  2      agura@ifs.org
    1150 Connecticut Avenue, N.W.,
  3      Suite 801
    Washington, DC 20036
  4 Phone: 202.967.0007
    Fax: 202.301.3399
  5
  6 Attorneys for Plaintiffs
      Mobilize the Message, LLC; Moving
  7 Oxnard Forward, Inc.; and Starr
      Coalition for Moving Oxnard Forward
  8

  9                         UNITED STATES DISTRICT COURT
 10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11

 12 MOBILIZE THE MESSAGE, LLC;             )   Case No. 2:21-cv-05115 VAP (JPRx)
      MOVING OXNARD FORWARD,               )
 13   INC.; and STARR COALITION FOR )          MEMORANDUM IN SUPPORT
      MOVING OXNARD FORWARD,               )   OF PLAINTIFFS’ MOTION FOR
 14                                        )   PRELIMINARY INJUNCTION
                        Plaintiffs,        )
 15                                        )
                    v.                     )   Judge: Hon. Virginia A. Phillips
 16                                        )   Hearing Date: July 26, 2021
      ROB BONTA, in his official capacity )    Time: 2:00 p.m.
 17   as Attorney General of California,   )
                                           )
 18                      Defendant.        )
                                           )
 19                                        )
                                           )
 20                                      )
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 22

 23                         MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                             MOTION FOR PRELIMINARY INJUNCTION
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  1                         PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                             MOTION FOR PRELIMINARY INJUNCTION
  2
                                             INTRODUCTION
  3

  4      When there’s a knock at the door, and the sales pitch begins, California

  5 law enforcement officials constructively perk up their ears. If the

  6 salesperson tries to sell cosmetics or demonstrate a set of kitchen knives,

  7 officials treat her as an independent contractor. But if the purpose of her

  8 visit is political—if she urges the resident to vote for a candidate or sign a

  9 ballot measure petition—the full and heavy weight of California’s

 10 pervasive employment regulations fall upon the visitor’s relationship with
 11 her client.

 12      Perhaps the cosmetics and kitchen-wares industries could afford these

 13 regulations, though the direct-sales lobby convinced the legislature to

 14 spare them from that worry. But political campaigns often cannot bear

 15 this burden. More to the point, they should not be made to do so. The

 16 state’s discrimination against people based on the content of their speech
 17 is indefensible under the First Amendment. This Court should

 18 immediately halt the damage being done to Californians’ fundamental

 19 right to conduct and participate in the democratic process.
 20                                      STATEMENT OF FACTS

 21                                    The Regulatory Regime
 22      Employers have greater control over employees than they do over
 23 independent contractors, but that control comes at great cost, including

 24 unemployment insurance taxes and associated administrative costs, Cal.

 25 Unemp. Ins. Code §§ 976, 13020, 13021; workers’ compensation insurance,
 26 Cal. Labor Code § 3700; and sick leave, Cal. Labor Code § 246. Employers

 27 also face additional payroll expenses in hiring employees, and may also be

 28 more readily susceptible to tort claims arising from their employees’

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  1 conduct, generating additional insurance costs. From a worker’s

  2 perspective, formal employment may include certain benefits, but often

  3 carries a significant cost in loss of freedom and flexibility over one’s

  4 working hours and conditions.

  5      Prior to 2018, California’s test for classifying workers as either
  6 employees or independent contractors was set forth, for all purposes, in

  7 S.G. Borello & Sons, Inc. v. Dep’t of Indus. Relations, 48 Cal. 3d 341

  8 (1989). Borello employed a multi-factor balancing test under which no one

  9 factor was dispositive. But “[w]hether a common law employer-employee

 10 relationship exists [under Borello] turns foremost on the degree of a
 11 hirer’s right to control how the end result is achieved.” Ayala v. Antelope

 12 Valley Newspapers, Inc., 59 Cal.4th 522, 528 (2014) (citing Borello, 48

 13 Cal.3d at 350).

 14      In 2018, California’s Supreme Court adopted a different “ABC test” to
 15 determine workers’ classification for purposes of the California Industrial

 16 Welfare Commission’s wage orders. The ABC test presumes that workers
 17 are employees unless the hiring entity establishes:

 18          (A)    that the worker is free from the control and direction of the
                    hiring entity in connection with the performance of the work,
 19                 both under the contract for the performance of the work and in
                    fact; and
 20
             (B)    that the worker performs work that is outside the usual course
 21                 of the hiring entity’s business; and
 22          (C)    that the worker is customarily engaged in an independently
                    established trade, occupation, or business of the same nature
 23                 as the work performed.
 24 Dynamex Operations West, Inc. v. Superior Court, 4 Cal.5th 903,

 25 957 (2018) (citations omitted) (paragraph breaks added).
 26      In Dynamex’s wake, California’s legislature enacted Assembly Bill 5
 27 (“AB 5”), which codified Dynamex’s application of the ABC test to wage

 28 orders, and extended the ABC test’s application to the entirety of

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  1 California’s Labor and Unemployment Insurance Codes. That general

  2 imposition of the ABC test is now codified at Cal. Labor Code § 2775(b)(1).

  3      But AB 5 contained myriad exemptions for livelihoods that are again,
  4 notwithstanding Dynamex, governed by Borello for all purposes. Assembly

  5 Bills 170 and 2257 enacted additional Borello exemptions at the behest of

  6 various lobbies. And in the November 2020 election, California’s voters

  7 enacted Proposition 22, codified at Cal. Bus. & Prof. Code § 7451, which

  8 classifies drivers for app-based companies—AB 5’s original prime

  9 targets—as independent contractors. Accordingly, since 2018, the

 10 question of whether a particular California worker is classified under the
 11 ABC test, under Borello, or under some definitive legislative command, is

 12 determined by the ever-shifting political vicissitudes of the moment

 13 within the legislature and among the voters.

 14      Among the occupations that “shall be governed by Borello” regardless
 15 of Section 2775 or Dynamex is that of “[a] direct sales salesperson as

 16 described in Section 650 of the Unemployment Insurance Code, so long as
 17 the conditions for exclusion from employment under that section are met.”

 18 Cal. Labor Code § 2783(e). Per that provision, “‘[e]mployment’ does not

 19 include services performed as a . . . direct sales salesperson . . . by an
 20 individual” if “[t]he individual . . . is engaged in the trade or business of

 21 primarily in person demonstration and sales presentation of consumer

 22 products, including services or other intangibles, in the home . . . or

 23 otherwise than from a retail or wholesale establishment,” “[s]ubstantially

 24 all” of the seller’s remuneration “is directly related to sales or other output

 25 (including the performance of services) rather than to the number of hours
 26 worked by that individual,” and the seller and hiring entity agree in

 27 writing to treat the seller as an independent contractor. Cal. Unemp. Ins.

 28 Code § 650. The Direct Selling Association “work[ed]” with AB 5’s sponsor

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  1 to enact the exemption, and understands it provides “that direct sellers

  2 are clearly and specifically independent contractors.” Direct Selling

  3 Association Applauds Direct Seller Exemption in California AB 5, Sep. 26,

  4 2019, https://bit.ly/3xOArGF.

  5      Newspaper distributors and carriers are also exempted from the ABC
  6 test and instead subject to Borello, Cal. Labor Code § 2783(h)(1), as

  7 “[c]lassifying independent contractors as employees would impose at least

  8 $80 million in new costs on the newspaper industry.” Bill Swindell,

  9 Legislature passes one-year exemption for newspaper carriers from AB 5,

 10 The Press Democrat, Sep. 1, 2020, https://bit.ly/3gVc0Aq.
 11      California’s legislature anticipated legal challenges to its new worker-
 12 classification scheme, and chose a remedy in the event that any part of

 13 the scheme was struck down. “If a court of law rules that the [ABC test]

 14 cannot be applied to a particular context based on grounds other than an

 15 express exception to employment status as provided under [the Labor

 16 Code, the Unemployment Insurance Code, or an Industrial Welfare
 17 Commission order],” Borello applies. Cal. Labor Code § 2775(b)(3).

 18      “Misclassifying” an employee as an independent contractor carries
 19 significant criminal and civil penalties. Civil penalties for misclassifying
 20 employees begin at $5,000 per violation. Cal. Labor Code § 226.8(b). Even

 21 the unintentional failure to withhold unemployment insurance tax is a

 22 misdemeanor punishable by $1,000 and imprisonment up to a year. Cal.

 23 Unemp. Ins. Code § 2118. And misclassifying a worker can trigger a

 24 variety of other penalties, e.g., for not reporting a new or rehired

 25 employee, id. § 1088.5(e); not reporting a new independent contractor, id.
 26 § 1088.8(e); or not electronically reporting wages paid to employees, id. §

 27 1114(b); see, generally, Cal. Empl. Dev. Dep’t, Penalty Reference Chart,

 28 https://www.edd.ca.gov/pdf_pub_ctr/de231ep.pdf.

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  1      Moreover, the Labor Code Private Attorneys General Act of 2004
  2 enables employees to sue alleged employers to recover civil penalties for

  3 Labor Code violations. Cal. Labor Code §§ 2699(a) and (g)(1). Prevailing

  4 employees may recover attorney fees and costs. Id. § 2699(g)(1). And

  5 putative employers are also subject to claims “for injunctive relief to

  6 prevent the continued misclassification of employees as independent

  7 contractors” brought by the state’s attorney general, district attorneys, or

  8 various city or city and county attorneys, “upon their own complaint or

  9 upon the complaint of a board, officer, person, corporation, or association.”

 10 Cal. Labor Code § 2786.
 11                 Plaintiffs’ Use of Doorknockers and Signature Gatherers
 12      Plaintiff Mobilize the Message, LLC (“MTM”) hires doorknockers to
 13 canvass neighborhoods and personally engage voters in the home on

 14 behalf of its client campaigns. Their purpose is to seek support for and

 15 gather feedback on political candidates and ballot measures. Greiss Decl.,

 16 ¶ 1. MTM also hires signature gatherers to persuade voters, at home and
 17 in public places, to sign petitions qualifying measures for the ballot. Id.

 18      MTM hires doorknockers and signature gatherers on an independent
 19 contractor basis. Id. ¶¶ 2, 7. MTM’s doorknockers and signature gatherers
 20 typically supply their own appropriate clothing, tools, and transportation,

 21 though MTM provides gas cards to offset transportation costs. Id. ¶ 2.

 22 MTM also provides workers optional housing in the campaign areas, and

 23 in the case of doorknockers, identifies the homes to be contacted, but it

 24 does not pay time-based wages. Rather, MTM pays doorknockers only for

 25 reaching door milestones. Signature gathering campaigns may target
 26 particular areas to satisfy legal requirements, but gatherers may gather

 27 signatures from anywhere within such boundaries, and are paid per valid

 28 signature obtained. Id. ¶ 3. MTM does not prescribe fixed hours, breaks,

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  1 or schedules, but requests that door knockers perform their work during

  2 the times of day when people are most likely to be home. Id. ¶ 6.

  3      Plaintiff Moving Oxnard Forward, Inc., (“MOF”), a California nonprofit
  4 corporation dedicated to improving Oxnard, California’s government,

  5 maintains a political action committee, plaintiff Starr Coalition for

  6 Moving Oxnard Forward (“Starr Coalition”) that creates, qualifies, and

  7 through its efforts enacts ballot measures in Oxnard’s municipal elections.

  8 Starr Coalition’s measures regularly appear on the ballot, and at times

  9 prevail. Starr Decl., ¶¶ 1-2. As MOF and Starr Coalition’s purpose is to

 10 effect political change by enacting ballot measures, they depend utterly on
 11 signature gatherers who persuade voters, at home and in public places, to

 12 sign petitions qualifying measures for the ballot. Id. ¶ 3.

 13      MOF and Starr Coalition have historically hired signature gatherers as
 14 independent contractors. Id. ¶¶ 4, 7. Like MTM, MOF and Starr Coalition

 15 paid these gatherers by the signature, but exercised no control over when,

 16 where, or how these gatherers worked. Id. ¶ 4. Typically, MOF and Starr
 17 Coalition’s signature gatherers would set their own schedule, and walk

 18 around highly-trafficked public spaces or go door-to-door to speak to

 19 voters and persuade them to sign petitions to qualify MOF and Starr
 20 Coalition’s ballot measures. MOF and Starr Coalition do not tell their

 21 signature gatherers when or where to gather signatures. Id. ¶ 5.

 22      Plaintiffs’ doorknockers and signature gatherers are expected to use
 23 their improvisational, conversational and persuasive skills to “sell”

 24 candidates and ballot measures. Greiss Decl., ¶ 5; Starr Decl., ¶ 5. Pay for

 25 Plaintiffs’ door knockers and signature gatherers is negotiable. Greiss
 26 Decl., ¶ 3; Starr Decl., ¶ 6. Signature gatherers’ pay also fluctuates with

 27 market conditions. When many competing petitions circulate, signature

 28 gatherers can and do demand more money for their services. It is also

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  1 easier to gather signatures earlier in the qualification process.

  2 Consequently, a gatherer’s price per signature may rise as time winds

  3 down and the signature gathering campaign approaches its goal. Greiss

  4 Decl., ¶ 4; Starr Decl., ¶ 6.

  5      Considering plaintiffs’ lack of control over their doorknockers and
  6 signature gatherers, and the degree of independent judgment that these

  7 individuals exercised in generating the performance milestones for which

  8 plaintiffs paid them, plaintiffs’ doorknockers and signature gatherers

  9 have always been essentially independent direct sales salespeople—

 10 notwithstanding that their advocacy is political rather than commercial.
 11 Greiss Decl., ¶ 8; Starr Decl., ¶ 8.

 12            The Regulatory Scheme’s Impact on Plaintiffs’ Political Speech
 13      Prior to AB 5’s enactment, MTM provided its services in California.
 14 However, MTM abandoned the California market upon AB 5’s enactment.

 15 MTM passed on doorknocking and signature gathering contracts in

 16 California because it cannot afford the administrative expenses of hiring
 17 its independent contractors as employees, and it does not wish to

 18 encourage inefficient work by disconnecting performance milestones from

 19 pay. Greiss Decl., ¶ 9.
 20      MOF and Starr Coalition intend to participate in Oxnard’s 2022
 21 municipal elections. Starr Coalition has already prepared ballot language

 22 for one measure that it would seek to qualify for that election, the

 23 “Oxnard Property Tax Relief Act,” and is also drafting additional ballot

 24 measures to be qualified for the same election. Starr Decl., ¶ 9. The time

 25 to start gathering signatures for the 2022 election is now. Any additional
 26 delays in beginning the signature-gathering campaign jeopardizes Starr

 27 Coalition’s odds of gathering sufficient signatures in time to qualify for

 28 the ballot, especially as additional or competing signature-gathering

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  1 petitions are launched. Moreover, delaying the completion of its signature-

  2 gathering campaigns delays Starr Coalition’s ability to effectively proceed

  3 to the next phase of advocating for the qualified measures’ adoption by

  4 voters. Id. ¶ 10.

  5      Starr Coalition intends to hire MTM to gather signatures for the
  6 Oxnard Property Tax Relief Act and its other measures. Id. ¶ 11. MTM

  7 intends to accept that work, just as it intends to provide other campaigns

  8 with doorknocking and signature-gathering services in California. Greiss

  9 Decl., ¶ 10. Absent the ability to use MTM, Starr Coalition intends to hire

 10 its own signature gatherers as independent contractors, as it has done in
 11 years past before the advent of AB 5. But given MOF and Starr Coalition’s

 12 limited resources, Starr Coalition cannot afford the burden of hiring

 13 signature gatherers as employees. Starr Decl., ¶ 11.

 14      Plaintiffs currently refrain from hiring doorknockers and signature
 15 gatherers solely because doing so as employers, per the ABC test, is

 16 unfeasible. Plaintiffs are concerned that their doorknockers and signature
 17 gatherers would be classified as employees under the ABC test, and they

 18 reasonably fear criminal and civil penalties for “misclassifying” these

 19 workers as independent contractors. Plaintiffs can also ill afford the costs
 20 of defending themselves from misclassification claims. Greiss Decl., ¶ 11;

 21 Starr Decl., ¶ 12.

 22      Absent paid signature gatherers, Starr Coalition must rely on
 23 volunteers, including the volunteer efforts of its otherwise-employed

 24 principals to gather signatures. But Starr Coalition cannot gather enough

 25 signatures to qualify a measure for the ballot using only volunteer labor.
 26 Lack of access to paid signature gatherers, caused solely by the ABC test,

 27 is thus preventing MOF and Starr Coalition from speaking to the voters

 28 and qualifying their ballot measures. Starr Decl., ¶ 13.

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  1                                    SUMMARY OF ARGUMENT
  2      California’s disparate treatment of commercial and political solicitation
  3 provides a textbook example of unlawful content-based speech

  4 discrimination. The traditional act of going door-to-door and engaging

  5 residents in an effort to persuade them is pure First Amendment

  6 protected speech, regardless of its content. So is circulating political

  7 petitions. The dictionary tells us that to “canvass” is “to go through (a

  8 district) or go to (persons) in order to solicit orders or political support or

  9 to determine opinions or sentiments.” Canvass, MERRIAM-WEBSTER.COM

 10 DICTIONARY, Merriam-Webster, https://www.merriam-webster.com/
 11 dictionary/canvass (last visited June 23, 2021). When a worker does so “to

 12 solicit orders,” and is paid by the demonstration or by the signature on a

 13 sales contract, she’s an independent contractor under California law. But

 14 if she does so “to solicit political support,” and is paid by the visit or

 15 signature on a ballot petition, that same law labels her an employee—a

 16 class of inflexible and often unaffordable worker.
 17      Likewise, delivering newspapers to the home gets one classified as an
 18 independent contractor. Delivering ballot petitions or other campaign

 19 materials to the home, including reprints of a newspaper endorsement,
 20 triggers employee status.

 21      As the state cannot carry its burden in justifying this content-based
 22 discrimination, and considering the ongoing irreparable harm to plaintiffs

 23 in the conduct of their political campaigns, the balance of the equities, and

 24 the strong public interest in defending fundamental rights, the Court

 25 should not delay in enjoining the state’s unlawful discriminatory practice.
 26                                          ARGUMENT
 27
         Plaintiffs are entitled to a preliminary injunction because (1) they are
 28
      likely to succeed on the merits; (2) they are suffering irreparable harm
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  1 owing to the state’s unconstitutional discrimination; (3) the balance of

  2 equities tips in their favor; and (4) an injunction serves the public

  3 interest. Winter v. Nat’l Res. Def. Council, 555 U.S. 7, 20 (2009). “When

  4 the government is a party, these last two factors merge.” East Bay

  5 Sanctuary Covenant v. Garland, 994 F.3d 962, 975 (9th Cir. 2021)

  6 (internal citations omitted). The Ninth Circuit “follows a ‘sliding scale’

  7 approach, in which a stronger showing of one element may offset a weaker

  8 showing of another.” Doe v. Trump, 984 F.3d 848, 870 (9th Cir. 2020)

  9 (internal quotation marks omitted).

 10        I.    PLAINTIFFS ARE LIKELY TO ESTABLISH THAT CALIFORNIA’S CONTENT-
                 BASED DISCRIMINATION AGAINST POLITICAL CANVASSING VIOLATES
 11
                 THE FIRST AMENDMENT.
 12
         When seeking a preliminary injunction “in the First Amendment
 13
      context, the moving party bears the initial burden of making a colorable
 14
      claim that its First Amendment rights have been infringed, or are
 15
      threatened with infringement, at which point the burden shifts to the
 16
      government to justify the restriction.” Doe v. Harris, 772 F.3d 563, 570
 17
      (9th Cir. 2014) (internal quotation marks omitted). The government
 18
      cannot justify its blatant discrimination against political canvassing.
 19
                 A.     The challenged regulations implicate Plaintiffs’ First
 20                     Amendment right to campaign for political causes and
                        candidates.
 21
         “The first step of First Amendment analysis is to determine whether
 22

 23
      the regulation implicates protected expression.” Recycle for Change v. City
      of Oakland, 856 F.3d 666, 669 (9th Cir. 2017). Canvassing—not least
 24
      including Plaintiffs’ efforts to engage and persuade voters on political
 25
 26
      matters—is plainly among the highest forms of protected expression.
         “For centuries it has been a common practice in this and other
 27
      countries for persons not specifically invited to go from home to home and
 28

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  1 knock on doors or ring doorbells to communicate ideas to the occupants or

  2 to invite them to political, religious, or other kinds of public meetings.”

  3 Martin v. Struthers, 319 U.S. 141 (1943). And “[f]or over 50 years, the

  4 Court has invalidated restrictions on door-to-door canvassing and

  5 pamphleteering.” Watchtower Bible & Tract Soc'y of N.Y., Inc. v. Vill. of

  6 Stratton, 536 U.S. 150, 160 (2002) (footnote omitted). “[T]he cases discuss

  7 extensively the historical importance of door-to-door canvassing and

  8 pamphleteering as vehicles for the dissemination of ideas.” Id. at 162.

  9      “Of course, as every person acquainted with political life knows, door to
 10 door campaigning is one of the most accepted techniques of seeking
 11 popular support, while the circulation of nominating papers would be

 12 greatly handicapped if they could not be taken to the citizens in their

 13 homes.” Martin, 319 U.S. at 146. And the First Amendment “has its

 14 fullest and most urgent application to speech uttered during a campaign

 15 for political office.” Eu v. S.F. Cty. Democratic Cent. Comm., 489 U.S. 214,

 16 223 (1989) (internal quotation marks omitted).
 17      The First Amendment’s special concern for political campaign speech
 18 extends to the circulation of petitions. “The circulation of an initiative

 19 petition of necessity involves both the expression of a desire for political
 20 change and a discussion of the merits of the proposed change.” Meyer v.

 21 Grant, 486 U.S. 414, 421 (1988). “Thus, the circulation of a petition

 22 involves the type of interactive communication concerning political change

 23 that is appropriately described as ‘core political speech.’” Id. at 421-22.

 24      The regulatory scheme, on its face, implicates Plaintiffs’ political
 25 speech. Their workers are subject to the ABC test for all purposes under
 26 Cal. Labor Code § 2775(b)(1), and are thus classified as employees. Yet

 27 other workers, who knock on the same doors and walk the same streets to

 28 speak to the same people and deliver them papers, are classified as

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  1 independent contractors per Borello. The distinctions? Rather than talk

  2 politics, these workers perform “in person demonstration[s] and sales

  3 presentation[s] of consumer products, including services or other

  4 intangibles,” Cal. Unempl. Ins. Code § 650(a); Cal. Labor Code § 2783(e),

  5 and rather than circulate petitions, they deliver newspapers, Cal. Labor

  6 Code § 2783(h)(1).

  7              B.     The challenged regulations violate the First Amendment by
                        discriminating against Plaintiffs’ speech on the basis of its
  8
                        political content and purpose.
  9
         “[A]bove all else, the First Amendment means that government has no
 10
      power to restrict expression because of its message, its ideas, its subject
 11
      matter, or its content.” Police Dep’t of Chicago v. Mosley, 408 U.S. 92, 95
 12
      (1972). “Content-based laws—those that target speech based on its
 13
      communicative content—are presumptively unconstitutional and may be
 14
      justified only if the government proves that they are narrowly tailored to
 15
      serve compelling state interests.” Reed v. Town of Gilbert, 576 U.S. 155,
 16
      163 (2015) (citations omitted).
 17
          “Government regulation of speech is content based if a law applies to
 18
      particular speech because of the topic discussed or the idea or message
 19
      expressed.” Id. at 163. “A law may also be content based if it requires
 20
      authorities to examine the contents of the message to see if a violation has
 21
      occurred.” Tschida v. Motl, 924 F.3d 1297, 1303 (9th Cir. 2019) (citation
 22
      omitted); Ark. Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 230
 23
      (1987) (“official scrutiny of the content of publications as the basis for
 24
      imposing a tax is entirely incompatible with the First Amendment[]”).
 25
         The “commonsense meaning of the phrase ‘content based’ requires a
 26
      court to consider whether a regulation of speech on its face draws
 27
      distinctions based on the message a speaker conveys.” Reed, 576 U.S. at
 28
      163 (internal quotation marks omitted). It does not matter whether a law
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  1 does so by “defining regulated speech by particular subject matter,” or by

  2 “defining regulated speech by its function or purpose.” Id. “Both are

  3 distinctions drawn based on the message a speaker conveys, and,

  4 therefore, are subject to strict scrutiny.” Id. at 163-64.

  5      Moreover, laws that are facially neutral are nonetheless considered
  6 content-based if they “cannot be justified without reference to the content

  7 of the regulated speech, or . . . were adopted by the government because of

  8 disagreement with [the speech’s] message.” Id. at 164 (internal quotation

  9 marks omitted). If a law is “justified by a concern that stems from the

 10 direct communicative impact of speech,” Tschida, 924 F.3d at 1303
 11 (internal quotation marks and brackets omitted), it is content-based.

 12      Given Section 2783’s exemptions, the application of Section 2775’s ABC
 13 test to Plaintiffs’ doorknockers and signature gatherers fits just about

 14 every definition of content-based speech discrimination. Section 2775’s

 15 application to a doorknocker depends on whether that worker, upon

 16 visiting a home, demonstrated or tried to sell consumer products. Upon
 17 receiving a misclassification complaint about a canvasser, the state’s

 18 investigators would presumably examine the worker’s message to see if

 19 Section 2783’s exceptions applied. Delivering newspapers door-to-door is
 20 one thing; delivering ballot petitions or other campaign literature, quite

 21 another.

 22      Indeed, the structure of California’s worker classification system, a
 23 broad rule with numerous exceptions for different speakers, itself signals

 24 content-based discrimination. When a scheme “favors particular kinds of

 25 speech and particular speakers through an extensive set of exemptions . . .
 26 . [t]hat means [it] necessarily disfavors all other speech and speakers.”

 27 Pac. Coast Horseshoeing Sch., Inc. v. Kirchmeyer, 961 F.3d 1062, 1072

 28 (9th Cir. 2020) (citations omitted).

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  1      California’s discrimination against political speech in worker
  2 classification cannot remotely satisfy strict scrutiny. Whatever the state’s

  3 interest in addressing “misclassification,” the state has no conceivable

  4 interest—let alone a compelling one—in treating political canvassers less

  5 favorably than commercial ones. A canvasser’s purpose in approaching a

  6 door, and the subject of her pitch, bears no relationship to the alleged

  7 need to “protect” her (by rendering her services unaffordable). Indeed, as

  8 the legislature acknowledges, some campaign workers warrant less

  9 “protection.” See Cal. Unemp. Ins. Code § 636 (political campaigns

 10 exempted from paying unemployment insurance for temporary workers).
 11      The Court cannot guess at the state’s interest in regulating speech, and
 12 the state cannot offer post-hoc reasoning, in response to litigation, on that

 13 subject. The legislature was required to explain itself on this point. Desert

 14 Outdoor Advertising v. City of Moreno Valley, 103 F.3d 814, 819 (9th Cir.

 15 1996) (“ordinance lacks any statement of purpose concerning [city’s]

 16 interests” first asserted in litigation). Of course, the explanation for the
 17 disparate treatment is plain: lobbying by impacted industries, in the best

 18 tradition of First Amendment political advocacy—alas in service of an

 19 unconstitutional result.
 20      Indeed, the legislature’s haphazard exemptions of favored industries
 21 “leads to the odd result that purely commercial speech, which receives

 22 more limited First Amendment protection than noncommercial speech, is

 23 allowed and encouraged, while artistic and political speech is not. This

 24 bias in favor of commercial speech is, on its own, cause for the rule’s

 25 invalidation.” Berger v. City of Seattle, 569 F.3d 1029, 1055 (9th Cir. 2009)
 26 (en banc) (citations omitted). The state “may not conclude that the

 27 communication of commercial information concerning goods and services

 28 connected . . . is of greater value than the communication of

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  1 noncommercial messages.” Metromedia, Inc. v. City of San Diego, 453 U.S.

  2 490, 513 (1981) (plurality opinion) (footnote omitted); see also Desert

  3 Outdoor, 103 F.3d at 820 (ordinance “unconstitutionally imposes greater

  4 restrictions upon noncommercial structures and signs than it does upon

  5 commercial structures and signs”).

  6      Plaintiffs acknowledge that this Court has rejected a content-based
  7 First Amendment challenge to California’s worker classification regime in

  8 two different contexts. Am. Soc’y of Journalists & Authors, Inc. v. Becerra,

  9 No. 19-cv-10645-PSG, 2020 WL 1444909 (C.D. Cal. Mar. 20, 2020)

 10 (“ASJA”). The ASJA claimed that two of the scheme’s features created
 11 unlawful content-based discrimination: a since-repealed provision that

 12 barred freelance writers, editors, newspaper cartoonists, still

 13 photographers, and photojournalists working as independent contractors,

 14 but not other creators, from selling more than 35 “content submissions;”

 15 and the exclusion of videography from an exemption otherwise available

 16 to photographers. But that decision is readily distinguishable.
 17      First, ASJA did not involve discrimination favoring commercial over
 18 political speech as exists here. All the speech at issue in ASJA was treated

 19 without regard to its commercial or political nature.
 20      Second, the ASJA court found that the 35-submission limit did “not
 21 reference any idea, subject matter, viewpoint or substance of any speech;

 22 the distinction is based on [whether] the individual providing the service

 23 in the contract is a member of a certain occupational classification.” Id. at

 24 *7 (citation omitted). “There is no indication that [the 35-submission limit]

 25 reflects preference for the substance or content of what certain speakers
 26 have to say, or aversion to what other speakers have to say. The

 27 justification for these distinctions is proper categorization of an

 28

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  1 employment relationship, unrelated to the content of speech.” Id. at *8

  2 (citations omitted).

  3       Here, quite unlike ASJA, the distinctions are based solely on the
  4 content of the canvassers’ speech. A worker going door-to-door to persuade

  5 residents, paid not by the hour but in direct relation to sales or other

  6 output, including the performance of the visit itself, is classified as an

  7 independent contractor only if her speech involved “in person

  8 demonstration and sales presentation of consumer products.” Cal.

  9 Unempl. Ins. Code § 650(a). The sole point of distinction between these

 10 allegedly different occupational classifications is the content of their
 11 speech. Arguably newspaper carriers usually have less interaction with

 12 people than do petition circulators or canvassers who leave campaign

 13 literature, but then any distributor of written material is disfavored when

 14 not delivering, specifically, newspapers. “[T]he legislature’s speaker

 15 preference reflects a content preference.” ASJA, 2020 WL 1444909 at *7

 16 (quoting Reed, 576 U.S. at 157) (other citations and emphasis omitted).
 17       Finally, ASJA found that the videography exclusion pertained to a
 18 specific medium, and thus, a separate occupation. Id. at *8. But the

 19 mediums and methods of expression here are the same: canvassing, and
 20 the distribution of printed material.1

 21       Plaintiffs would also be remiss if they did not mention Crossley v.
 22 California, 479 F. Supp. 3d 901 (S.D. Cal. 2019), which rejected a different

 23 AB 5 challenge brought by signature-gatherers. Crossley could have been

 24 on-point, but alas, the plaintiffs in that case never argued that AB 5

 25 violates the First Amendment by discriminating against speech based on
 26

 27

 28
      1
       ASJA also rejected a theory that the submission limit and videography
      exception targeted the press, but Plaintiffs do not claim that the
      discrimination here singles them out for exercising a press function.
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  1 its content, and the court consequently never addressed a Reed claim. The

  2 Crossley plaintiffs did include a First Amendment theory among their 13

  3 different claims, but it complained only generally that AB 5 burdened

  4 their speech.

  5      Addressing that generalized grievance, Crossley plainly erred in
  6 describing AB 5 as “a generally applicable law that regulates the

  7 classification of employment relationships across the spectrum and does

  8 not single out any profession or group of professions.” 479 F. Supp. 3d at

  9 916. The scheme is replete with exclusions for various professions. See,

 10 e.g., Cal. Labor Code §§ 2778 (“professional services” exception), 2780
 11 (“specified occupations” exception), 2783 (“other specific occupations”

 12 exception). And contrary to Crossley’s view, AB 5 indeed “regulate[s]

 13 conduct that is inherently expressive,” Crossley, 479 F. Supp. 3d at 916,

 14 by exempting some forms of speech. See Pacific Coast, 961 F.3d at 1072.

 15 But Crossley’s larger point is apt. The fact that AB 5 impacts expressive

 16 speech does not, without more, make for a First Amendment claim. And in
 17 any event, Plaintiffs here do not make Crossley’s First Amendment claim.

 18      To the extent the Crossley plaintiffs complained of disparate treatment
 19 owing to their speech’s content, they did so only under an equal protection
 20 theory that did “not implicate a fundamental right,” Crossley, 479 F.

 21 Supp. 3d at 912, leading the court to apply only rational basis review. And

 22 “under the highly deferential rational basis review standard, the Court

 23 decline[d] to judge the ‘wisdom, fairness, or logic’ of the California state

 24 legislature’s choices,” even though they “may arguably have been

 25 arbitrarily designed or the result of political motives.” Id. at 914. The
 26 state’s arguments had “shown that there is some ‘reasonable basis’ for

 27 these classifications.” Id.

 28

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  1      Plaintiffs would disagree that AB 5 could pass even rational basis
  2 review, but that is not the test here. Strict scrutiny governs this case. It

  3 requires some compelling interest to justify the discrimination, hopefully

  4 reflected in the legislature’s statement of purpose—but none exists. And

  5 the state cannot carry its narrow tailoring burden with supposition or

  6 rationalizing. Where First Amendment rights are at stake, “there must be

  7 evidence; lawyers’ talk is insufficient.” Annex Books, Inc. v. City of

  8 Indianapolis, 581 F.3d 460, 463 (7th Cir 2009). The state’s elevation of

  9 commercial over political speech interests can hardly be justified by

 10 explaining, as the state did in Crossley, that direct sales of consumer
 11 products and newspaper deliveries are commercial endeavors.

 12      Plaintiffs are likely to succeed on the merits.
 13       II.    PLAINTIFFS ARE SUFFERING IRREPARABLE HARM.
 14      “Irreparable harm is relatively easy to establish in a First Amendment
 15 case. A party seeking preliminary injunctive relief in a First Amendment

 16 context can establish irreparable injury by demonstrating the existence of
 17 a colorable First Amendment claim.” CTIA - The Wireless Ass’n v. City of

 18 Berkeley, 928 F.3d 832, 851 (9th Cir. 2019) (internal quotation marks and

 19 other punctuation marks omitted). “The loss of First Amendment
 20 freedoms, for even minimal periods of time, unquestionably constitutes

 21 irreparable injury” for preliminary injunction purposes. Elrod v. Burns,

 22 427 U.S. 347, 373 (1976) (citation omitted); CTIA, 928 F.3d at 851. “When,

 23 as here, a party seeks to engage in political speech in an impending

 24 election, a delay of even a day or two may be intolerable.” Sanders Cnty.

 25 Republican Cent. Comm. v. Bullock, 698 F.3d 741, 748 (9th Cir. 2012)
 26 (internal quotation marks omitted).

 27      Mobilize the Message has already abandoned the California market
 28 owing to the state’s discriminatory worker classification regime. Its client

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  1 campaigns, including those for Moving Oxnard Forward and the Starr

  2 Coalition, are being denied its services. The Oxnard plaintiffs are not

  3 gathering signatures for the Oxnard Property Tax Relief Act and their

  4 other proposed ballot measures. Every day that passes injures their

  5 ability to qualify their measures for the ballot, and gain their passage.

  6      III.    THE PUBLIC INTEREST IN SECURING FIRST AMENDMENT RIGHTS, AND
                 THE BALANCE OF THE EQUITIES , FAVOR GRANTING RELIEF.
  7

  8      “A court must balance the interests of all parties and weigh the damage

  9 to each in determining the balance of the equities.” CTIA, 928 F.3d at 852

 10 (internal quotation marks omitted). Misclassification might cost the state
 11 money, but if the state can handle direct sales salespersons and

 12 newspaper carriers being classified as independent contractors, it should

 13 tolerate the same classification of those who perform the same services

 14 with a political angle. On the other hand, Plaintiffs are suffering the loss

 15 of fundamental First Amendment rights.

 16      “The public interest and the balance of the equities favor preventing

 17 the violation of a party’s constitutional rights.” Ariz. Dream Act Coal. v.

 18 Brewer, 855 F.3d 957, 978 (9th Cir. 2017) (internal quotation marks and

 19 brackets omitted). In particular, the Ninth Circuit has “consistently
 20 recognized the significant public interest in upholding First Amendment

 21 principles.” Doe, 772 F.3d at 583 (internal quotation marks omitted).

 22                                          CONCLUSION

 23      The Court should grant Plaintiffs’ motion for a preliminary injunction.
 24

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 26

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  1      Dated: June 24, 2021                Respectfully submitted,
  2                                By:       /s/ Alan Gura
                                             Alan Gura (SBN 178221)
  3
                                                   agura@ifs.org
  4                                          INSTITUTE FOR FREE SPEECH
                                             1150 Connecticut Avenue, N.W., Suite 801
  5                                          Washington, DC 20036
                                             Phone: 202.967.0007
  6                                          Fax: 202.301.3399
  7
                                             Attorneys for Plaintiffs
  8                                          Mobilize the Message, LLC; Moving
                                             Oxnard Forward, Inc.; and Starr
  9                                          Coalition for Moving Oxnard Forward
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